Case 4:23-cv-01294 Document 1 Filed on 04/04/23 in TXSD Page 1 of 12

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Ni on—Prisoner)

z +

UNITED STATES DISTRICT COURT

for the
District of
Division
| V. ) Case No. .
Mi anty Le yw ) (to be filled in by the Clérk’s Office)
Plaintiffs) —
(Write the full name of each plaintiff who is filing this complaint. +4, ,
If the names of all the plaintiffs cannot fit in the space above, ) Jury Trial: (check one) LY Yes L_]No
please write “see attached” in the space and attach an additional )
page with the full list of names.) )
~V~ )
5 fe, lo ) United States Courts
1} | ) Southern District of Texas
cat | | CHD, ) FILED
6c te )
Defendant(s) ) APR 3 2023
(Write the full name of each defendant who is being sued. If the )
names of all the defendants cannot fit in the space above, please ) £ Court
write “see attached” in the space and attach an additional page Nathan Ochsner, Clerk 0} :

with the full list afnames. Do not include addresses here.)

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non-Prisoner Complaint)

forma pauperis.

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; ora complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in

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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

04/23 in TXSD Page 2 of 12

I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named
needed.

Name

in the complaint. Attach additional pages if

Address

City
County

State Zip Code

Telephone Number

E-Mail Address

The Defendant(s)

Provide the information below for each defendant name

d in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation. For an individual defendant,

include the person’s job or title (if known) and check w.

them in their individual capacity or official capacity, or

Weare !'s

” Defendant No. 1

hether you are bringing this complaint against
both. Attach additional pages if needed.

Canty

Name
Job or Title (f° known) Coe te i
Address FOL - Krank (in Celoor 3!
[fovsba Re 27 oo C—
City State Zip Code
County
Telephone Number Bo —- AZ 0 _-BIDO
E-Mail Address (if known) Lf
[| Individual capacity Aoricia capacity
Defendant No. 2
Name iL CL
Job or Title (if known) al
Address ( 50 _ [Hallarn ° Si . L
Ipoh x ~ WO 527 607
City State Zip Code
. County
Telephone Number
E-Mail Address (if known) ZL
[ ] Individual capacity Official capacity

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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

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D. Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. Ifyou are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages ifneeded.

Ill. Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the évents giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages ifneeded.

A. Where did the events giving rise to your claim(s) occur?

tee
cme A 2S

B. What date and approximate time did the events giving rise to your claim(s) occur?

Dune 24, QHeUS

C. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)

J Wey eybeted 84 ) wo fale lebemert

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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

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i. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials fo1
immunities secured by the Constitution and [federal laws].” Ur
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may su
constitutional rights.

A.

Defendant No. 3

Name V r h.eu

CA e_

Job or Title (if known)

Address

County

State

Zip Code

Telephone Number L

E-Mail Address (if known)

Defendant No. 4
Name

pacity [] Official capacity

Job or Title (if known)

Address

City
County

State

Zip Code

Telephone Number

E-Mail Address (if known)

[] Individual capacity [| Official capacity

Are yowbringing suit against (check all that apply):
Federal officials (a Bivens claim)
State or local officials (a § 1983 claim)
Section 1983 allows claims alleging the “deprivation of

the Constitution and [federal laws].” 42 U.S.C. § 1983
federal constitutional or statutory right(s) do you claim

UF Eran

the “deprivation of any rights, privileges, or
ider Bivens v. Six Unknown Named Agents of
e federal officials for the violation of certain

f any rights, privileges, or immunities secured by
If you are suing under section 1983, what
is/are being violated by state or local officials?

Plaintiffs suing under Bivens may only recover for the '

violation of certain constitutional rights. If you

are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal

officals? yy lodedon — tlabl, if

ef

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ALD, ad od NGchedl ~tut- Wisbech VA Jo Als Page 3 of 6
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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

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IV. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

Low Ske IN a PipucastecA Cla fur

V. Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

poll s, lle. ty aw /} Lf Clatpr

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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

VI.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have

‘evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable

opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: ‘3 har Po

Signature of Plaintiff N dege AER
Printed Name of Plaintiff (fmmnnoel  \\leley tf/E
UW

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Address

City State Zip Code
Telephone Number
E-mail Address

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THE STATE OF TEXAS ' DA, LOG NUMBER: 1971482

VS. 01634640 CJIS TRACKING NO.: 9168925832-A001
EMMANUEL ADEWALE ADEYINKA _ SPN: BY: CG DA.NO: 002094892
10811 RICHMOND AVE #18 DOB: BM 08/02/1980 AGENCY:HCC POLICE
HOUSTON, TX 77042 __ DATE PREPARED: 6/27/2013 O/R NO: 13007146

ARREST DATE: 06/27/2013

NCIC CODE: 480101 "RELATED CASES:

MISDEMEANOR CHARGE: Evading Arrest or Detention

CAUSE NO: BAIL: $5000.

1904293 PRIOR CAUSE NO:

HARRIS COUNTY CRIMINAL COURT AT LAW NO: 2

FIRST SETTING DATE: 07/05/13

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

Before me, the undersigned Assistant District Attorney of Harris County, Texas this day appeared the undersigned affiant, who under oath says
that he has good reason to believe and does believe that in Harris County, Texas, EMMANUEL ADEWALE ADEYINKA, hereafter styled the
Defendant, heretofore on or about JUNE 24, 2013, did then and there unlawfully intentionally flee from M. LEVENE, hereafter styled the
Complainant, a PEACE OFFICER employed by HOUSTON COMMUNITY COLLEGE POLICE lawfully attempting to DETAIN the
Defendant, and the Defendant knew that the Complainant was a PEACE OFFICER and that the Complainant was attempting to DETAIN the
Defendant.

AGAINST THE PEACE AND DIGNITY OF THE STATE.

Sworn to and subscribed before me on June 27, 2013

fasts

AFFIANT 7 ASSISTAN& DISTRICTATTORNEY BAR NO..

OF HARRIS COUNTY, TEXAS.

Probable Cause found . Capias to issue
“ Date Magistrate, Harris County, Texas

COMPLAINT
Case 4:23-cv-01294 Document 1 Filed on 04/04/23 in TXSD Page 8 of 12

BOND: 5000 No. 190429301010 SPN: 01634640, | 1,
The State of Texas _In the District Court ye
VS. County Criminal Court at Law No. 002.
ADEYINKA, EMMANUEL ADEWALE , Defendant Harris County, Texas
08/02/1980 , DOB INS: MIN PFG: O

PROBABLE CAUSE FOR FURTHER DETENTION & spAruTORY WARNINGS BY MAGISTRATE

Today, the above named defendant, charged with EVADINE ARREST/DETENTION , appeared before
the undersigned authority< (the Court) Cin person. [by video teleconference.

{All statements in bold should be addressed to defendant,

equest appointment of counsel? (check one)
The defendant did not request appointment of counsel.

YES. The defendant requested appointment of counsel. The Court ORDERS the Office of Pre-Trial Services (PTS) to
immediately assist defendant in preparing a request for appointment of counsel. PTS shall forward defendant's request to
the judge of the court in which the case is pending within 24 hours.

If you are not a United States citizen, you may be entitled to have us notify your country's consular
representative here in the United States. Do you want us to notify your country's consular officials? (check one)

J NO,
J YES. What country? . If you are a citizen of a country that requires us to notify
your country's consular representative, we shall notify them as soon as possible.
‘] MANDATORY NOTIFICATION. CLERK, NOTIFY (Country) CONSULATE.
If you are a foreign national, please provide the following information:
Mr./Ms:
(father's name {surname}/ mother's maiden name / first name) Date of birth (mm/dd/yy)
Place of birth
Passport number Date of passport issuance Place of passport issuance
This proceeding was interpreted by: (Print name of interpreter)
ORDER
J The Codrt FINDS probable cause for further detention DOES NOT EXIST. Accordingly, in this case, the Court ORDERS the

law’enforcement agency/officer having custody of the defendant, to immediately release the defendant from custody.

The Court FINDS PROBABLE CAUSE for further detention EXISTS. The Court set and/or reviewed the defendant's bond,
and in clear and unambiguous language, the Court 1) advised defendant of his rights as enumerated in Article 15.17 of the
Texas Code of Criminal Procedure and 2) provided him with information required by law. Accordingly, The Court ORDERS
defendant committed to the custody of the Sheriff of Harris County, Texas. Defendant shall rerfiain in the Sheriff's custody

mine bail in this cause, or until further orders by the Court.
Ail is set at $__(' 5@0O_. GPersonal Bond is: /(] APPROVED DISAPPROVED [REFERRED

DATE/ TIME (Print) JUDGE wp HEARING OFFICER

N.RCV3001.P

Rev.08/24/05

7 \ RECORDER'S MEMORANDUM

This instrument is of poor quality

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Case 4:23-cv- 012% Document 1 Filed on 04/04/23 m@per Page 9 of.12

CAUSE NO. / GDH. 2 G3

THESTATEOFTEXAS § IN THE COUNTY CRIMINAL
V. / . § COURTATLAWNO. 0 >
X W g§ HARRIS COUNTY, TEXAS

efendant Name

Charge: £07GQEN g Bhs FT / ctor TE ry)

CASE RESET FoRM
Reset Date: The undersigned Defendant and Counsel acknowledge that this case is reset from Z -Of- l 3s

to: . Zee: 20/5 at G ff)

© The State has offered:

© The State and Defense agree as follows: gy

ANNs

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Bee Kes Dis

|\ OePndant Signatuty, © a ’ In Jail

Fines, Court Costs, and RPstitytig A

Fine: Ss
Costs: NY © ! \ oe eA. al
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LG) <Attormey Signature
~ VAC

Total:
Attbrpey Fal Address 4 $ 3 M02,
Mattoney felephone No.: f t AN Hb l l

Attomey for S

Restitution: SS
rome PTY
Attorney Kax No.: 2
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FOR COURT SFAFF USE ONE ny s
Reset by: Defense Oo Yee Cmeoy “han an <

Setting Réason: O bisP eae CG O PNDC
"ye O PLEA CO) DADH GO McHJ
| HEAR O srs O DADS O McH
O NTRL. O motN | O oADD - GO JTRL - OC other O mMcRH _
Reason for Reset:
G To Hire Attomey ~ & DA. Chief Unavailable CI Béfendant On Call : “oO ‘Compliance MAJ / MRP
O No Offense Report O D.A. Re-File As Felony O) .Defendant Has New Case (I No MHMR Evaluation
No Video /Labo CO D/A. Evaluate Case 1 Attorney Not Present [J Complete Program:
0 Restitution Info O FELP ; oo.
NA° File Unavailable h tine ONG Refer toFCLD O Need Clearance Letter [} Other:
J Sétting Date Approved .
__ maar, Z-O/- B43
Judge / Coordinator . ° Date Signed

CCL Form 2 , Updated 5/11
Case 4:23-cv-01294 Document 1
CAUSE NO.

2 in Kk of of 12

THE STATE OF TEXAS § IN THE COUNTY CRIMINAL

COURT AT LAW NUMBER a2

Vs. . ' a §
Ermmenwer Fides Kos HARRIS COUNTY, TEXAS

TRIAL COURT'S CERTIFICATION OF BEFENDANT'S RIGHT OF APPEAL*

I, Judge of the trial court, certify this criminal case:
G isnot a plea-bargain case, and the defendant has the right of appeal. [or]

CO is a plea-bargain case, but matters were raised by written motion filed and ruled on before trial and not
withdrawn or waived, and the defendant has-the Tight of appeal. [or]

(pan case, but the trial court has given permission to appeal, and the defendant has the right of
al. [or] .

is a plea-bargain case, and the defendant has NO tight of appeal. [or] °
C) the defendant hasywpived the right of appeal.

JUL G2 2013.

Date Signed —

Nd

Judge Presiding nh
Ihave received a copy of this certification. Thave also been informed of my rights conteining 2 anty appeal of this criminal
case, including any right to file a pro se petition for discretionary review pursuant to Rulé-68 of the Texas Rules of.
Appellate Procedure. I have been admonished that my attormey must mail a copy of the court’ -of appeals’ judgment and
opinion to my last known address and that I have only.30 days in which to file a pro Se petition for discretionary review
in the court of appeals. Tex. R. App. P. 68.2. acknowledge that, if wish to appeal this case and if I am entitled to do so,
it is my duty to inform my appellate. attorney, by written communication, of any: change-iti the address at which I am
currently living or any phan ge in my current prison unit. I understand that, because of | appellate deadlines, if I fail to
P

ID aio \appelfate attg ey of any ¢ change in my address, I may lose the ae to file a pro se petition for

‘Defendait's Coins

WC \ . . 73
Mailing address: State Bar of Texas ID Number:
E _M,Jane Walker
Telephone number: gh is Bani, ) Mailing address: a7 Franti, Sultan
tS fr} ~ ‘ ouston, exes
i hh ‘©? Clerk walkerlawhouston@gmall.com
“t-2 B27 SPN 24037 661SBN
Fax number (tf any): Ting ~ VS 20 13 Telephone number: u en 3,478,5484 Col
By, > 713,224.301 Fax

*A defendant in a criminal case has the right of appeal under these rules. The trial court shall enter a certification of the defendant's
right to appeal in every case in which it enters a judgment of guilt or other appealable order. In a plea bargain case that is, a case in
which a defendant's plea was guilty or nolo contendere and the punishment did not exceed the punishment recommended by the
prosecutor and agreed to by the defendant a defendant may appeal only: (A) those matters that were raised by written motion filed and
tuled on before trial, or (B) after getting the trial court's permission to appeal. TEXAS RULE OF APPELLATE PROCEDURE 25.2(a)(2).

CCL Form 22 . 12-04-2012

CY
Case 4:23-cv-01294 Document 1. Filed on 04/04/23 in TXSD Page 11 of 12

CasE No. 190429301010
INCIDENT NO./TRN: 9168925832A001

THE STATE OF TEXAS IN THE CouNTY CRIMINAL P Z

ve Court AT Law No. 2

ADEYINKA, EMMANUEL ADEWALE

§
§
§
§
§ HARRIS COUNTY, TEXAS
§

§

STATE ID No.: TX05784021

JUDGMENT OF CONVICTION BY COURT—WAIVER OF JURY TRIAL

Judge Presiding: © Hon. WILLIAM HARMON pore Wudement 7/2/2018
Attorney for State: FOSS, MATT ptamney fox WALKER, MEKISHA JANE

Dffense for which Defendant Convicted:
EVADING ARREST/DETENTION -

vharging Instrument: Statute for Offense:
INFORMATION N/A
Jate of Offense:
§/2.4/2013
Degree of Offense: Plea to Offense: Findings on Deadly Weapon: .
CLASS A MISDEMEANOR GUILTY N/A
Terms of Plea Bargain:

Z0DAYS HCJ/9DAYS CREDIT
lea to 18*Enhancement oe . Plea to 2°¢ Enhancement/Habitual
Paragraph; N/A: Paragraph: N/A
*indings on 15* Enhancement Findings on 284
2aragraph: N/A Enhancement/Habitual Paragraph: N/A
Date Sentence Imposed: 7/2/2013 Date Sentence toCommence: 7/2/2013

Punishment and Place 20 DAYS COUNTY JAIL

of Confinement:
THIS SENTENCE SHALL.RUN CONCURRENTLY.

L] SENTENCE OF CONFINEMENT SUSPENDED, DEFENDANT PLACED ON COMMUNITY SUPERVISION FOR N/A .

Fine: Court, Costs: Restitution: Restitution Payable to:
N/A $ 222 $ N/A (J VICTIM (see below) [|] AGENCY/AGENT (see below)

Time If Defendant is to serve sentence in county jail or is given credit toward fine and costs, enter days credited below.
Oredited: 9 DAYS NOTES: TOWARD INCARCERATION, FINE, AND COSTS

Driver's license is suspended for a period of N/A

_] Family Violence:
The Court FINDS that Defendant was prosecuted for an offense under Title 5 of the Penal Code that involved family
violence. TEX. CODE CRIM. PROC. art. 42.013. ,

_] Weapon Forfeiture:

The Court Finns that a law enforcement agency, namely , Seized a weapon, namely »in connection with an
offense involving the use of a weapon or an offense under Chapter 46 of the Penal Code. The Court FINDS that 1)
Defendant has been previously convicted under Chapter 46 of the Penal

Name changed from

All pertinent information, names and assesaments indicated above are incorporated into tha language of the judgment below by reference.

This cause was called for trial in Harris County, Texas. The State appeared by her District Attorney.
Counsel / Waiver of Counsel (select one)
{] Defendant appeared in person with Counsel.
CJ Defendant knowingly, intelligently, and voluntarily waived the right to representation by counsel in writing in open court.
RECORDER'S MEMORANDUM
This instrument is of poor quality

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Both parties announced ready for trial. Defendant waived the right of trial by jury and entered the plea indicated above.
The Court then admonished Defendant as required by law. It appeared to the Court that Defendant was mentally competent to
stand trial, made the plea freely and voluntarily, and was aware of the consequeny es of this plea. The Court received the plea and
entered it of record. Having heard the evidence submitted, the Court found Defendant guilty of the offense indicated above. In the
presence of Defendant, the Court:pronounced sentence against Defendant.

The Court FINDS Defendant committed the above offense and ORDERS, ADJUDGES AND DECREES that Defendant is
GUILTY of the above offense. The Court FINDS the Presentence Investigation, if\so ordered, was done according to the applicable
provisions of Tex. CODE CRIM. Proc. art. 42.12§ 9. -

_ The Court ORDERS Defendant punished as indicated above. The Court ORDERS Defendant to pay all fines, court costs, and

restitution as indicated above.

Punishment Options (select one)
&] County Jail—Confinement / Confinement in Lieu of Payment. The Court ORDERS Defendant immediately committed to
the custody of the Sheriff of Harris County, Texas on the date the sentence is to commence. Defendant shall be confined in the
Harris County Jail for the period indicated above. The Court ORDERS that upon release from confinement, Defendant shail
proceed immediately to the Harris County District Clerk’s office. Once there, the Court ORDERS Defendant to pay, or make
arrangements to pay, any remaining unpaid fines, court costs, and restitution as ordered by the Court above.
[1] Fine Only Payment. The punishment assessed against Defendant is for a FINE ONLY. The Court ORDERS Defendant to proceed
immediately to the Office of the Harris County District Clerk. Once there, the Court OrpERS Defendant to pay or make
arrangements to pay all fines and court costs as ordered by the Court in this cause.

Execution / Suspension of Sentence (select one)
The Court ORDERS Defendant's sentence EXECUTED.
C1 The Court ORDERS Defendant's sentence of confinement SUSPENDED. The Court ORDERS Defendant placed on community
supervision for the adjudged period (above) so long as Defendant abides by and does not violate the terms and conditions of -
community supervision. The order setting forth the terms and conditions of community supervision is incorporated into this
judgment by reference. ,

The Court ORDERS that Defendant is given credit noted above on this sentence for the time spent incarcerated.

Furthermore, the following special =~ or orders apply:

Signed and entered on July 02, 2013 —|
Le

WILLIAM HARMON
JUDGE PRESIDING

Community Supervision Expires On:
Ntc Appeal Filed: Mandate Rec'd:

After Mandate Received, Sentence to Begin Date is:

Def. Received on at AM / PM

By: __, Deputy Sheriff of Harris County

Clerk: A JEREZ

Case Number: 190429301010

Defendan: , BMMANUE
EN/KR23: 2

Right Thumbprint

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